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United States Bankruptcy Court

 
 

For the District Of Co|orado
In re 11330 Smith Rd, LLC ) Case No.
Debtor* ) :

) Chapter 7

SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:

A petition under title ll, United States Code was fried against you in this bankruptcy court on
January 16, 2019, requesting an order for relief under chapter 7 of the Bankruptcy Code (title ll of the
United States Code).

YOU ARE SUMMONED and required to file With the Clerk of the bankruptcy court a motion
or answer to the petition Within 21 days after the service of this summons A copy of the petition is
attached.

Address of the clerk: US Bankruptcy Court
721 19‘*‘ street
Denver, CO 80202

At the same time, you must also serve a copy of your motion or answer on petitioner’s attorney

Name and Address of Petitioner’s Attorney:
Duncan E. Barber
Shapiro Bieging Barber Otteson LLP
7979 E Tufts Avenue, Suite 1600
Denver, CO 80237

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(0).

If you fail to respond to this summons, the order for relief will be entered

 

 

Date: ' -`By: (Deputy Clerk)

-"Kenneth S. Gandner

* Set forth all names, including trade names, used by the debtor Within the last 8 years. (Fed. R .Bankr. P. 1005).

 

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CERTIFICATE OF SERVICE

I, (name), certify that on
(date), l served this summons and a copy of the involuntary petition on
(nalne), the debtor in this case, by [describe the mode of service and the address at which the
debtor was served ] :

 

If service vvas made by personal seiyice, by residence service, or pursuant to state law, l
further certify that l am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning vvhich service of process Was made

Under penalty of perjury, I declare that the foregoing is true and correct.

 

Date Signature

Print Narne:

 

Business Address:

 

 

#540672

